Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document      Page 1 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document      Page 2 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document      Page 3 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document      Page 4 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document      Page 5 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document      Page 6 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document      Page 7 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document      Page 8 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document      Page 9 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document     Page 10 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document     Page 11 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document     Page 12 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document     Page 13 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document     Page 14 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document     Page 15 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document     Page 16 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document     Page 17 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document     Page 18 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document     Page 19 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document     Page 20 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document     Page 21 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document     Page 22 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document     Page 23 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document     Page 24 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document     Page 25 of 26
Case 18-17157-JNP   Doc 11    Filed 05/04/18 Entered 05/04/18 11:34:45   Desc Main
                             Document     Page 26 of 26
